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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

                                                         )
 ERICA LAFFERTY; DAVID WHEELER;                          )
 FRANCINE WHEELER; JACQUELINE                            )
 BARDEN; MARK BARDEN; NICOLE                             )   ADV. PROC. NO. 22 - _________
 HOCKLEY; IAN HOCKLEY; JENNIFER                          )
 HENSEL; JEREMY RICHMAN; DONNA                           )
 SOTO; CARLEE SOTO-PARISI; CARLOS                        )   APRIL 18, 2022
 M. SOTO; JILLIAN SOTO; AND WILLIAM                      )
 ALDENBERG,                                              )
                                                         )
        Plaintiffs,                                      )
                                                         )
 v.                                                      )
                                                         )
 ALEX EMRIC JONES; INFOWARS, LLC;                        )
 FREE SPEECH SYSTEMS, LLC;                               )
 INFOWARS HEALTH, LLC; PRISON                            )
 PLANET TV, LLC; WOLFGANG                                )
 HALBIG; CORY T. SKLANKA; GENESIS                        )
 COMMUNICATIONS NETWORK, INC.;                           )
 and MIDAS RESOURCES, INC.,                              )
                                                         )
             Defendants.                                 )

                      NOTICE OF REMOVAL TO BANKRUPTCY COURT

       Defendants InfoW, LLC (f/k/a Infowars, LLC), IWHealth, LLC (f/k/a Infowars Health,

LLC), and Prison Planet TV, LLC (the “Debtors”), pursuant to 28 U.S.C. §§ 1334 and 1452,

Federal Rule of Bankruptcy Procedure 9027, and Local Rule of Bankruptcy Procedure 9027-1,

hereby files this Notice of Removal of Case No. X06-UWY-CV-XX-XXXXXXX-S, from the Superior

Court, Judicial District of Fairfield at Bridgeport, Connecticut (the “State Court”), where this

action was commenced, to this Court. As grounds for such removal, the Debtors state as follows:

       1.      On or about May 23, 2018, Plaintiffs Erica Lafferty, David Wheeler, Francine

Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Jeremy



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Richman, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto, Jillian Soto, and William Aldenberg

filed this action original petition in the State Court, thus initiating the “State Court Lawsuit.” The

State Court Lawsuit names the Debtors as defendants.

       2.        On April 18, 2022 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court

for the Southern District of Texas, Victoria Division, pending as Case No. 22-60020 (InfoW,

LLC), Case No. 22-60021 (IWHealth, LLC) and Case No. 22-60022 (Prison Planet TV, LLC) (the

“Bankruptcy Cases”).

       3.        The Debtors timely files this Notice of Removal within 90 days of the Petition Date

pursuant to Federal Rule of Bankruptcy Procedure 9027(a)(2).

       4.      The United States District Court for the District of Connecticut has original

jurisdiction over this action pursuant to 28 U.S.C. §1334(b) as the State Court Lawsuit is “related

to” the Bankruptcy Cases. Additionally, there the diversity jurisdiction under 28 U.S. Code § 1332.

       5.      Removal to this Bankruptcy Court is proper pursuant to 28 U.S.C. § 1452, Federal

Rule of Bankruptcy Procedure 9027, and Local Bankruptcy Rule 9027-1. The State Court Lawsuit

was filed in state of Connecticut and was proceeding in the Superior Court, Judicial District of

Fairfield at Bridgeport, Connecticut. The U.S. District Court for the District of Connecticut,

Bridgeport Division, is the United States district and division appropriate for removal of the State

Court Lawsuit.

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                                    DEFENDANTS AND DEBTORS, INFOW, LLC
                                    IWHEALTH, LLC PRISON PLANET, LLC


                                    By: /s/ Norman A. Pattis /s/
                                    /s/ Cameron L. Atkinson /s/
                                    Norman A. Pattis
                                    Cameron L. Atkinson
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2022, a true and correct copy of the foregoing document
was served by U.S.P.S. and, where indicated, email on the following parties:

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                                     /s/ Cameron L. Atkinson /s/




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